     Case: 1:19-cv-00912 Document #: 67 Filed: 07/09/19 Page 1 of 2 PageID #:3384




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

POPSOCKETS LLC,
                                                    Case No. 19-cv-00912
               Plaintiff,
                                                    Judge Virginia M. Kendall
v.
                                                    Magistrate Judge Sidney I. Schenkier
6109656, et al.,

               Defendants.


                               SATISFACTION OF JUDGMENT

       WHEREAS, a judgment was entered in the above action on April 18, 2019 [53], in favor

of Plaintiff PopSockets LLC (“PopSockets” or “Plaintiff”), and against the Defendants Identified

in Schedule A in the amount of one hundred fifty thousand dollars ($150,000) per Defaulting

Defendant, and Plaintiff acknowledges payment of an agreed upon damages amount, costs, and

interest and desires to release this judgment and hereby fully and completely satisfy the same as

to the following Defendants:

                   Defendant Name                                     Line No.
                       6109656                                            1
                    mallat17miles                                        59
                     ringkingdom                                         69
                       unclemart                                         82

       THEREFORE, full and complete satisfaction of said judgment as to the above-referenced

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.




                                                1
   Case: 1:19-cv-00912 Document #: 67 Filed: 07/09/19 Page 2 of 2 PageID #:3384




Dated this 9th day of July 2019.     Respectfully submitted,


                                     _/s/ Allyson M. Martin__________________
                                     Amy C. Ziegler
                                     Justin R. Gaudio
                                     Allyson M. Martin
                                     Greer, Burns & Crain, Ltd.
                                     300 South Wacker Drive, Suite 2500
                                     Chicago, Illinois 60606
                                     312.360.0080 / 312.360.9315 (facsimile)
                                     aziegler@gbc.law
                                     jgaudio@gbc.law
                                     amartin@gbc.law

                                     Counsel for Plaintiff PopSockets LLC




                                        2
